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AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case


                                       UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF CALIFORNIA
                                                 AMENDED JUDGMENT IN A CRIMINAL
               UNITED STATES OF AMERICA          CASE
                          V.                     (For Offenses Committed On or After November 1, 1987)
       MAGDALENA NECHALDAS HOWARD (1)
                                                                       Case Number:         3:23-CR-00130-RBM

                                                                    Ga!}'. Paul Burcham
                                                                    Defendant's Attorney
USM Number                          43336-510
IZ! Modification of Restitution Order (18 U.S.C § 3664)
THE DEFENDANT:
IZ!   pleaded guilty to count             One of the Information

0     was found guilty on count(s)
      after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):


Title and Section/ Nature of Offense                                                                                  Count
42:408(a)(4) - Social Security Fraud                                                                                    1




     The defendant is sentenced as provided in pages 2 through                6            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
0     The defendant has been found not guilty on count(s)

0     Count(s)                                                 is         dismissed on the motion of the United States.

IZ!   Assessment: $100.00 Imposed


O     NT A Assessment* : $

      *Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
IZI   See fine page               D Forfeiture pursuant to order filed                                         , included herein.
       IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of
any material change in the defendant' s economic circumstances.

                                                                    Mav 5. 2023



                                                                    UNITED STATES DISTRICT JUDGE
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                                                           PROBATION
     The defendant is hereby sentenced to probation for a term of:
     THREE (3) YEARS AS TO COUNT 1


                                               MANDATORY CONDITIONS
1. The defendant must not commit another federal, state or local crime.
2. The defendant must not unlawfully possess a controlled substance.
3. The defendant must not illegally possess a controlled substance. The defendant must refrain from any unlawful use of
   a controlled substance. The defendant must submit to one drug test within 15 days of release from imprisonment and at
   least two periodic drug tests thereafter as determined by the court. Testing requirements will not exceed submission of
   more than 4 drug tests per month during the term of supervision, unless otherwise ordered by the court.
         □ The above drug testing condition is suspended, based on the court's determination that the defendant poses a
           low risk of future substance abuse. (check if applicable)
4. □ The defendant must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute
   authorizing a sentence of restitution. (check if applicable)
5. ~The defendant must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.     □ The defendant must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C.
       § 20901, et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration
       agency in the location where the defendant resides, works, is a student, or was convicted of a qualifying offense.
       (check if applicable)
7.     □ The defendant must participate in an approved program for domestic violence. (check if applicable)

The defendant must comply with the standard conditions that have been adopted by this court as well as with any other
conditions on the attached page.




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                                STAND ARD CONDITIONS OF SUPERVISION
As part of the defendant's supervised release, the defendant must comply with the following standard conditions of
supervision. These conditions are imposed because they establish the basic expectations for the defendant's behavior
while on supervision and identify the minimum tools needed by probation officers to keep informed, report to the
court about, and bring about improvements in the defendant's conduct and condition.

1. The defendant must report to the probation office in the federal judicial district where they are authorized to reside within 72
   hours of their release from imprisonment, unless the probation officer instructs the defendant to report to a different probation
   office or within a different time frame .

2. After initially reporting to the probation office, the defendant will receive instructions from the court or the probation officer
   about how and when the defendant must report to the probation officer, and the defendant must report to the probation officer
   as instructed.

3. The defendant must not knowingly leave the federal judicial district where the defendant is authorized to reside without first
   getting permission from the court or the probation officer.

4. The defendant must answer truthfully the questions asked by their probation officer.

5. The defendant must live at a place approved by the probation officer. If the defendant plans to change where they live or
   anything about their living arrangements (such as the people living with the defendant), the defendant must notify the
   probation officer at least 10 days before the change. If notifying the probation officer in advance is not possible due to
   unanticipated circumstances, the defendant must notify the probation officer within 72 hours of becoming aware of a change or
   expected change.

6. The defendant must allow the probation officer to visit them at any time at their home or elsewhere, and the defendant must
   permit the probation officer to take any items prohibited by the conditions of their supervision that he or she observes in plain
   view.

7. The defendant must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
   excuses the defendant from doing so. If the defendant does not have full-time employment the defendant must try to find full-
   time employment, unless the probation officer excuses the defendant from doing so. If the defendant plans to change where the
   defendant works or anything about their work (such as their position or their job responsibilities), the defendant must notify the
   probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not possible
   due to unanticipated circumstances, the defendant must notify the probation officer within 72 hours of becoming aware of a
   change or expected change.

8. The defendant must not communicate or interact with someone they know is engaged in criminal activity. If the defendant
   knows someone has been convicted of a felony, they must not knowingly communicate or interact with that person without
   first getting the permission of the probation officer.

9. If the defendant is arrested or questioned by a law enforcement officer, the defendant must notify the probation officer within 72 hours.

10. The defendant must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e.,
    anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such
    as nunchakus or tasers).

11. The defendant must not act or make any agreement with a law enforcement agency to act as a confidential human source or
    informant without first getting the permission of the court.

12. If the probation officer determines the defendant poses a risk to another person (including an organization), the probation
    officer may require the defendant to notify the person about the risk and the defendant must comply with that instruction.
    The probation officer may contact the person and confirm that the defendant notified the person about the risk.




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                                 SPECIAL CONDITIONS OF SUPERVISION

     1. Submit your person, property, house, residence, vehicle, papers, [computers (as defined in 18 U.S.C. §
        1030(e)(l)), other electronic communications or data storage devices or media,] or office, to a search
        conducted by a United States probation officer. Failure to submit to a search may be grounds for
        revocation of release. The offender must warn any other occupants that the premises may be subject to
        searches pursuant to this condition. An officer may conduct a search pursuant to this condition only
        when reasonable suspicion exists that the offender has violated a condition of his supervision and that
        the areas to be searched contain evidence of this violation. Any search must be conducted at a
        reasonable time and in a reasonable manner.

     2. Provide complete disclosure of personal and business financial records to the probation officer as
        requested.

     3. Notify the Collections Unit, United States Attorney's Office, of any interest in property obtained,
        directly or indirectly, including any interest obtained under any other name, or entity, including a trust,
        partnership, or corporation.

     4. Notify the Collections Unit, United States Attorney's Office, before transferring any interest in property
        owned, directly or indirectly, including any interest held or owned under any other name, or entity,
        including a trust, partnership or corporation.

     5. Be prohibited from opening checking accounts or incurring new credit charges or opening additional
        lines of credit without approval of the probation officer.

II




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                                            RESTITUTION


Pay restitution in the amount of $79,671.56 through the Clerk, U. S. District Court. Payment ofrestitution shall
be forthwith. The defendant shall pay the restitution during her probation at the rate of $250 per month due on the
15 th of each month. These payment schedules do not foreclose the United States from exercising all legal actions,
remedies, and process available to it to collect the restitution judgment.

Restitution is to be paid to the following victim and distribution is to be made on a pro rata basis.

Victim                                        Amount
Social Security Administration                $79,671.56


Until restitution has been paid, the defendant shall notify the Clerk of the Court and the United States Attorney' s
Office of any change in the defendant's mailing or residence address, no later than thirty (30) days after the
change occurs.




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                                                  FINE

The defendant shall pay a fine in the amount of

Pay a fine in the amount of$ 2 600.00              through the Clerk, U.S. District Court. Payment of fine shall be
forthwith. The defendant shall pay the fine during his probation at the rate of $250 per month. These payment
schedules do not foreclose the United States from exercising all legal actions, remedies, and process available to it
to collect the fine judgment at any time.

Until fine has been paid, the defendant shall notify the Clerk of the Court and the United States Attorney's Office
of any change in the defendant's mailing or residence address, no later than thirty (30) days after the change
occurs.




This sum shall be paid      IZl    Immediately.



The Court has determined that the defendant       does not   have the ability to pay interest. It is ordered that:
D The interest requirement is waived




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